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                            EXHIBIT 9
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                                                                                1                       UNITED STATES DISTRICT COURT
                                                                                2                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                3
                                                                                4    - - - - - - - - - - - - - - - - x
                                                                                5    NEMAN BROTHERS & ASSOC.,        :
                                                                                     INC., a California              :
                                                                                6    corporation,                    :
                                                                                                                     :
                                                                                7           Plaintiff/Counterclaim   :
                                                                                            Defendant,               :     Case No.
                                                                                8                                    :     2:20-cv-11181-CAS-
                                                                                        v.                           :     JPR
                                                                                9                                    :
                                                                                     INTERFOCUS, INC. d.b.a.         :
                                                                                10   www.patpat.com, a Delaware      :
                                                                                     corporation; CAN WANG, and      :
                                                                                11   individual, and Does 1-10,      :
                                                                                     inclusive,                      :
                                                                                12                                   :
                                                                                            Defendant/Counterclaim   :
                                                                                13          Plaintiff.               :
                                                                                     - - - - - - - - - - - - - - - - x
                                                                                14
                                                                                15          Deposition of NEMAN BROTHERS & ASSOC., INC.,
                                                                                16          By and Through Its Designated Representative,
                                                                                17                           ADRINEH MOKHTARIAN
                                                                                18                           Conducted Virtually
                                                                                19                        Friday, August 12, 2022
                                                                                20                             10:17 a.m. PST
                                                                                21
                                                                                22   Job No.: 459387
                                                                                23   Pages: 1 - 63
                                                                                24   Reported By:    Rhonda Norberg, RPR, CSR No. 9265,
                                                                                25                   CCRR No. 185
                                                                                               Transcript of Yoel Neman, Designated Representative
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                                                                                1    the testimony.
                                                                                2             MR. LEE:     All right.      You can answer,
                                                                                3    Ms. Mokhtarian.
                                                                                4             THE WITNESS:      Answer which question?           I'm
                                                                                5    sorry.
                                                                                6    BY MR. LEE:
                                                                                7        Q    Do you know anything about Neman Brothers'
                                                                                8    copyright application procedures before you began having
                                                                                9    those responsibilities at Neman Brothers in 2021?
                                                                                10       A    Not real -- no.
                                                                                11            MR. LEE:     Okay.    If it's all right, I'd suggest
                                                                                12   we go off the record for just a second so I can confer
                                                                                13   with counsel.
                                                                                14            MR. JEONG:     Mark, let me explain on the record.
                                                                                15            MR. LEE:     Okay.
                                                                                16            MR. JEONG:     So there's a mention about
                                                                                17   Ms. Alicia and there was another person.             We already
                                                                                18   identified them in the written responses, Adelso
                                                                                19   (phonetic) and Alicia.
                                                                                20            Those were the former employees who we think
                                                                                21   worked on those three applications in dispute in this
                                                                                22   case, so, obviously, others do not have personal
                                                                                23   knowledge because they did not personally work on those
                                                                                24   applications.
                                                                                25            But, you know, Ms. Mokhtarian here today is the

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                                                                                1    best person we could find who could testify about those
                                                                                2    application procedures based on her knowledge about
                                                                                3    general practice and her understanding.              You know, she
                                                                                4    worked as a designer at the time too; so she has her own
                                                                                5    understanding, anyways, about, especially,
                                                                                6    Neman Brothers' practice of this application procedure,
                                                                                7    so that -- Ms. Mokhtarian is the best witness I think we
                                                                                8    can produce at this time; and if you'd like to depose
                                                                                9    like Adelso and Alicia, that's your choice, so --
                                                                                10             MR. LEE:     And just for the record, we want to
                                                                                11   depose the person most knowledgeable, the person who can
                                                                                12   speak on behalf of Neman Brothers concerning its
                                                                                13   copyright applications.
                                                                                14             MR. JEONG:     That's what I'm saying.            Alicia and
                                                                                15   Adelso are not employees anymore, so we cannot control
                                                                                16   them, so they cannot possibly be 30(b)(6) witness.
                                                                                17             MR. LEE:     Well, technically, they could.            I'm
                                                                                18   not trying to argue with you.          They may not be willing
                                                                                19   to.   I understand.
                                                                                20             Just so we're clear, then, you've produced
                                                                                21   Ms. Mokhtarian to produce the person most knowledgeable
                                                                                22   at Neman Brothers presently to answer these questions;
                                                                                23   is that a fair statement?
                                                                                24             MR. JEONG:     Yeah.     I mean, the most
                                                                                25   knowledgeable is not the standard for 30(b)(6); but

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                                                                                1               MR. JEONG:      Objection; calls for a legal
                                                                                2    conclusion.
                                                                                3               MR. LEE:     You can answer.
                                                                                4               Ms. Mokhtarian, your counsel objected, but he
                                                                                5    did not instruct you not to answer, so I'd appreciate it
                                                                                6    if you'd answer the question, please.
                                                                                7               THE WITNESS:       Can you repeat the question one
                                                                                8    more time?
                                                                                9               MR. LEE:     Yeah.
                                                                                10          Q   Neman Brothers understood in 2001 that if it
                                                                                11   included inaccurate information in a copyright
                                                                                12   application, it could invalidate the application, did it
                                                                                13   not?
                                                                                14          A   I was not here in 2001; but I'm sure whatever
                                                                                15   they did, it was done -- you know, not done by
                                                                                16   intentionally.
                                                                                17          Q   Okay.    Now, the instructions that we just are
                                                                                18   looking at, those are intended to help people who fill
                                                                                19   out copyright applications to fill them out correctly,
                                                                                20   aren't they?
                                                                                21              MR. JEONG:      Objection; calls for speculation.
                                                                                22              MR. LEE:     You can answer, Ms. Mokhtarian.
                                                                                23              THE WITNESS:       To me these instructions are
                                                                                24   clear, but I'm not sure -- or somebody who was doing it
                                                                                25   back in 2001, it was clear to them or they just did it

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                                                                                1    based on their knowledge.
                                                                                2    BY MR. LEE:
                                                                                3        Q    And -- and these written instructions were
                                                                                4    attached to every Form VA that the copyright office
                                                                                5    issued, weren't they?
                                                                                6        A    I don't know.      Sorry.
                                                                                7        Q    And certainly people who were filling out a
                                                                                8    Form VA copyright application could consult the
                                                                                9    instructions when they were -- every time they filled
                                                                                10   them out, could they not?
                                                                                11            MR. JEONG:     Again, calls for speculation.
                                                                                12            MR. LEE:     All right.      Well, we already looked
                                                                                13   at the term "author."
                                                                                14       Q    Is the term "author" as it's defined in these
                                                                                15   instructions consistent with your understanding of what
                                                                                16   the word "author" means?
                                                                                17       A    I understand what the word "author" means.
                                                                                18       Q    And generally the word "author" means the
                                                                                19   person who created the work, doesn't it?
                                                                                20       A    Yes.
                                                                                21       Q    But there is an exception for what the
                                                                                22   instructions call work made for hire.
                                                                                23            Do you see that?
                                                                                24       A    Yes.
                                                                                25       Q    And you see the term "work made for hire" is

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                                                                                1        A    I'm sure they did.
                                                                                2             I'm not sure because I was not there.
                                                                                3             MR. LEE:     All right.      If you would, please, I'd
                                                                                4    like to show the witness another document that is
                                                                                5    designated 2016.11.08 Application Form VA.
                                                                                6             THE VIDEOCONFERENCE TECHNICIAN:             I'm sorry.
                                                                                7    The 2016.11.08, correct?
                                                                                8             MR. LEE:     Correct.
                                                                                9                    (Exhibit No. 7 was marked for
                                                                                10                   identification by the
                                                                                11                   videoconference technician;
                                                                                12                   attached hereto.)
                                                                                13            MR. LEE:     I'd like to have this marked as
                                                                                14   Exhibit 7, and then I'd like the witness to have an
                                                                                15   opportunity to look it over -- look all four pages over.
                                                                                16       Q    Have you had a chance to look at Exhibit 7,
                                                                                17   Ms. Mokhtarian?
                                                                                18       A    Yes.
                                                                                19       Q    You'll not -- well, up at the top of the page,
                                                                                20   it has the same language about instructions to "Detach
                                                                                21   and read these instructions before completing the form."
                                                                                22            Do you see that?
                                                                                23       A    Yes.
                                                                                24       Q    And then if you go down, under the
                                                                                25   "Line-By-Line," it starts -- you see the same headings

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                                                                                1    and the same text describing what an author is and what
                                                                                2    a work made for hire is.
                                                                                3        A    Yes.
                                                                                4        Q    Okay.     Do you know how many copyright
                                                                                5    applications Neman Brothers had filed with the copyright
                                                                                6    office using forms like the exhibits we've looked at
                                                                                7    today as of the end of 2016?
                                                                                8        A    I wouldn't know the numbers.
                                                                                9        Q    All right.     If we could, let's go back to
                                                                                10   Exhibit 1 that we talked about previously; and then I'd
                                                                                11   specifically like to invite the witness to look at
                                                                                12   Exhibit A to that Exhibit 1 and -- and refer not to the
                                                                                13   first page, but go to the page that in the far left has
                                                                                14   Number 357 and in the far right has the year 2016.
                                                                                15            All right.     Now, if you'll look here, this
                                                                                16   is -- as you've noticed, Ms. Mokhtarian, one of the
                                                                                17   pages in Exhibit A to the document we have marked as
                                                                                18   Exhibit 1 to this deposition; and in the far left is
                                                                                19   what appears to be a numerical listing of Neman Brothers
                                                                                20   copyright registrations with Neman Brothers identified
                                                                                21   as the copyright applicant, and then the title of the
                                                                                22   document is included in blue, and in the last entry for
                                                                                23   2016, it's referenced "September 2016 Collection."
                                                                                24            Do you see that?
                                                                                25       A    Yes.

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    1          Q     And then in the far left, how many copyright
    2     registrations does it say that Neman Brothers had
    3     attained with Form VA through the end of 2016?
    4          A     I haven't counted one by one.
    5          Q     I know, but what is the number referenced
    6     there?
    7                How many does this document say were filed?
    8          A     357.
    9          Q     Thank you.
    10               And I recognize you haven't personally counted
    11    through the books that Neman Brothers has, but do you
    12    have any reason to believe that the copyright office's
    13    records here are mistaken?
    14         A     No.
    15         Q     Okay.     Are you familiar with something called
    16    an "Compendium of U.S. Copyright Office Practices"?
    17         A     No.
    18         Q     Do you know if Neman Brothers has a Compendium
    19    of Copyright Office Practices in its offices?
    20         A     I don't really know what "compendium" is.
    21         Q     Do you know if the copyright office makes its
    22    Compendium of U.S. Copyright Office Practices available
    23    on its -- for the public to see on its website?
    24         A     I don't know.
    25               MR. LEE:     Okay.    Would you please -- let's take

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    1     not seen the actual compendium that is described in
    2     Exhibit 8; is that correct?
    3          A     Correct.
    4          Q     Okay.     Now, are you generally aware that the
    5     copyright office makes information available about how
    6     to correctly apply for a copyright on its website?
    7          A     Yes.
    8          Q     All right.      Has Neman Brothers had occasion to
    9     consult the copyright office website to obtain
    10    information to help it complete the Form VA copyright
    11    application?
    12         A     I personally contacted them to do the copyright
    13    when I'm doing it; but back in 2012 or '15, I don't know
    14    if anybody had contacted them.
    15               MR. LEE:     All right.       All right.       In that case,
    16    please -- let's please show the witness another document
    17    that has been designated Exhibit 2 to the Neman
    18    declaration.       And it should be marked as exhibit number
    19    next, which I'm going to guess is Exhibit Number 9.
    20                      (Exhibit No. 9 was marked for
    21                      identification by the
    22                      videoconference technician;
    23                      attached hereto.)
    24    BY MR. LEE:
    25         Q     Have you had a chance to look at that document,

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                                                                                 1    Ms. Mokhtarian?
                                                                                 2        A      Yes.
                                                                                 3        Q      Do you recognize that document?
                                                                                 4        A      Yes.
                                                                                 5        Q      What is that document?
                                                                                 6        A      This is the registration certificate.
                                                                                 7        Q      And whose registration certificate is it?
                                                                                 8        A      Neman Brothers.
                                                                                 9        Q      Correct.
                                                                                 10              Now do you know if Neman Brothers filed a paper
                                                                                 11   copyright application to obtain the registration
                                                                                 12   certificate that is attached as Exhibit 9 that we're
                                                                                 13   looking at now?
                                                                                 14       A      I don't know.
                                                                                 15       Q      So as far as you know, it might have been a
                                                                                 16   paper copyright application or it might have been an
                                                                                 17   online application?
                                                                                 18       A      Correct.
                                                                                 19       Q      All right.     I guess that would be consistent
                                                                                 20   with your testimony that the copyright office, as far as
                                                                                 21   you know, began accepting online copyright applications
                                                                                 22   in 2017.
                                                                                 23       A      Yes.
                                                                                 24       Q      All right.     Do you know if Neman Brothers
                                                                                 25   began -- or -- strike that.

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                                                                                 1              Do you know if Neman Brothers changed from
                                                                                 2    paper applications to online applications as soon as
                                                                                 3    they became available or as soon as it became possible
                                                                                 4    to file electronic applications with the copyright
                                                                                 5    office?
                                                                                 6        A     I don't know if they did it right away, but I
                                                                                 7    know it started in 2017.
                                                                                 8        Q     All right.     So at some point in 2017, as far as
                                                                                 9    you know, Neman Brothers changed from filing paper
                                                                                 10   copyright applications to the online copyright
                                                                                 11   applications; is that correct?
                                                                                 12       A     That's correct.
                                                                                 13       Q     All right?     Now, did the copyright office's
                                                                                 14   online application system also contain instructions for
                                                                                 15   how to fill out the electronic forms in 2017?
                                                                                 16       A     2017, I cannot tell that.
                                                                                 17       Q     Do you know if it does today?
                                                                                 18       A     It does.
                                                                                 19             MR. LEE:     Okay.    I'd like to ask the witness to
                                                                                 20   look at the document designated "Copyright Office ECO
                                                                                 21   Group Filing Instructions."
                                                                                 22             Strike -- well, that's what I call it, anyway.
                                                                                 23             Please take a look at this document.
                                                                                 24             And let's mark it as exhibit number next, which
                                                                                 25   will be Exhibit 10.

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    1                    I, the undersigned, a Certified Shorthand
    2     Reporter of the State of California, do hereby certify:
    3                     That the foregoing proceedings were taken
    4     before me at the time and place herein set forth with
    5     all participants appearing remotely; that any witnesses
    6     in the foregoing proceedings, prior to testifying, were
    7     duly sworn or affirmed; that a record of the proceedings
    8     was made by me using machine shorthand, which was
    9     thereafter transcribed under my direction; that the
    10    foregoing transcript is a true record of the testimony
    11    given.
    12                    Further, that if the foregoing pertains to
    13    the original transcript of a deposition in a federal
    14    case, before completion of the proceedings, review of
    15    the transcript [X] was [ ] was not requested.
    16                    I further certify I am neither financially
    17    interested in the action nor a relative or employee of
    18    any attorney or party to this action.
    19                    IN WITNESS WHEREOF, I have this date
    20    subscribed my name.
    21
    22    Dated:    8/27/22
    23
    24                          __________________________________
                                Rhonda Norberg, RPR, CSR No. 9265,
    25                          CCRR No. 185

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